       Case 6:10-cr-10178-JTM         Document 217        Filed 08/17/11      Page 1 of 2




                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS



UNITED STATES OF AMERICA,                           )
                                                    )
                      Plaintiff,                    )
                                                    )
v.                                                  )       No. 10-10178-03-WEB
                                                    )
BENJAMIN B. KIRTLAND, III,                          )
XXX-XX-3531                                         )
                                                    )
                      Defendant.                    )
                                                    )
and                                                 )
                                                    )
TIAA-CREF                                           )
Resident Agent Corporation Service Comp.            )
730 Third Avenue                                    )
New York, NY 10047-3206,                            )
                                                    )
                      Garnishee-Defendant.          )
                                                    )


                                   Memorandum and Order

       This matter is before the court on the United States’ objection to the answer of TIAA-

CREF to a writ of garnishment. The United States contends the answer is defective in several

respects, including because it fails to provide a breakdown of individual accounts, balances, and

distributions regarding accounts belonging to defendant Benjamin Kirtland. It also points out

that the answer contains legal argument from a non-lawyer on behalf of a corporation.

       The court concludes that the United States’ objections (Doc. 201) to the answer should

be, and are hereby, SUSTAINED. The United States may submit for the court’s approval a

proposed order requiring the relief requested in its objection, including an order for TIAA-CREF

to freeze all accounts owned by defendant Kirtland and to provide an accounting of any monies
       Case 6:10-cr-10178-JTM          Document 217           Filed 08/17/11   Page 2 of 2




paid out since receipt of the writ of garnishment; requiring TIAA-CREF to provide an answer

separately identifying all accounts belonging to defendant Kirtland and the balance of each

account; requiring TIAA-CREF to provide the United States copies of each plan owned by

defendant Kirtland; and striking legal argument provided by a non-attorney on behalf of TIAA-

CREF. See Rowland v. California Men’s Colony, 506 U.S. 194, 201 (1993) (corporations may

appear in federal courts only through a licensed attorney).

       IT IS SO ORDERED this 17th          Day of August, 2011, at Wichita, Ks.


                                             s/Wesley E. Brown
                                             Wesley E. Brown
                                             U.S. Senior District Judge




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